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            EXHIBIT 9
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                      GRIFFIN,

                      / 01 20334*
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                   Plaintiffs,

  $CHRISTOPHER
            "!-"SHEERAN,
               -against-
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63617/12EDWARD
                      Deposition

              $CHRISTOPHER
                                    of

                        "!-"SHEERAN,
                                      "*
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
  Defendant

 KBC4B/12to2EE20M6*before
                           G63EC6CINDY
                                    %A.,AFANADOR,
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  pursuant      Notice,


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1                  Edward Christopher Sheeran
                                      Sheeran

2            Q.         How did you come
                        How         come to
                                         to the
                                            the

3    conclusion that
     conclusion that the
                     the song
                         song had sounds
                                  sounds -- similar

4    sounds to
     sounds to what you and
                        and Amy
                            Amy had written
5
5    together earlier?
     together

6
6                       MS. FARKAS:        Yeah, objection.
                                                 objection.
 7           A.         I just
                        I just knew,
                               knew, 'cause
                                     'cause it
                                            it was a song
                                                   a song

8
8    that we had written and
     that                and I
                             I recognized
                               recognized the
                                          the vocal
                                              vocal
9
9    melody and
     melody and as
                as soon
                   soon as
                        as I
                           I recognized
                             recognized it, I
                                            I got
                                              got
10
10   in touch with her and
                       and we sourced
                              sourced it
                                      it out.
                                         out.

11           Q.         Okay.
                        Okay.

12                      What were the
                                  the circumstances
                                      circumstances that
                                                    that
13
13   brought you and
     brought     and Ms. Wadge together
                               together when you

14   were writing "Thinking Out
                            Out Loud"; did
                                       did you get
                                               get
15
15   together to
     together to write songs
                       songs or
                             or were you getting
                                         getting
16
16   together as
     together as friends?
                 friends?

17           A.         Both, I
                        Both, I guess.
                                guess.          Yeah, we are
                                                         are
18
18   friends.
     friends.

19
19           Q.         And where was that?
                                      that?
20
20           A.         In my house in Suffolk.

21           Q.         Do you recall
                        Do     recall when you began
                                               began

22   recording the
     recording the songs
                   songs for
                         for "x"?
                             "x"?

23
23                      MS. VIKER:                     right?
                                          Did I get it right?

24           A.         No.
                        No.

25
25           Q.         Do you have any
                        Do          any recollection if

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1                  Edward Christopher Sheeran
                                      Sheeran

2    would be
           be me.

3            Q.         Do you recall
                        Do     recall how you decided it
                                                      it

4    would be
           be you?
5
5                       MS. FARKAS:        Objection.
                                           Objection.          No
                                                               No

6
6            foundation.
             foundation.

 7           A.         I mean, I'm an
                                    an artist,
                                       artist, so..
                                               so....

8
8            Q.         Is she
                        Is she sort
                               sort of
                                    of more
                                       more of like a
                                                    a

9
9    support, like a
     support,      a writer?

10
10           A.         Yeah, she's
                              she's a
                                    a writer.

11           Q.         Okay.     Thank you.
                                  Thank

12                          either one
                        Did either one of
                                       of you, either
                                               either
13
13   when you were writing or at
                              at any
                                 any time
                                     time

14   thereafter, discuss
     thereafter, discuss or
                         or recognize any
                                      any potential
15
15   perception that
     perception that the
                     the song
                         song "Let's
                              "Let's Get
                                     Get It
                                         It On"
                                            On"
16
16   sounded reminiscent
     sounded reminiscent of
                         of "Thinking Out Loud",

17               "Thinking Out
     vice versa, "Thinking Out Loud"
                               Loud" and
                                     and "Let's
                                         "Let's Get
18
18      On"?
     It On"?

19
19                      MS. FARKAS:        Objection to
                                           Objection to form.
                                                        form.
20
20           I would ask
             I       ask you to
                             to rephrase that
                                         that

21           question.

22                      MS. VIKER:        Okay.
                                          Okay.

23
23           Q.         At the
                        At the time
                               time that
                                    that Ms. Wadge and
                                                   and
24   you were writing "Thinking Out
                                Out Loud", was

25
25   there any
     there any discussion
               discussion about
                          about any
                                any similarities or

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1                  Edward Christopher Sheeran
                                      Sheeran

2    possible perceptions to
     possible             to that
                             that and
                                  and "Let's
                                      "Let's Get
                                             Get It
                                                 It

3    On"?
     On"?

4            A.         No.

5
5            Q.         Okay.
                        Okay.

6
6                                after that,
                        Any time after that, before
                                             before it
                                                    it
 7   was released?
         released?

8
8            A.         No.

9
9            Q.         Okay.
                        Okay.

10           A.         It was always
                        It     always called
                                      called the
                                             the Van
                                                 Van

11   Morrison song,
              song, always.
                    always.

12           Q.         Okay.
                        Okay.

13                      MR. FRANK:        Why was it called
                                                     called the
                                                            the

14           Van Morrison song?
                          song?

15           Q.         Yeah, why was it
                                      it called
                                         called the
                                                the Van

16   Morrison song?
              song?

17           A.         It emulates
                        It emulates the
                                    the sounds,
                                        sounds, I
                                                I guess;
                                                  guess;

18   piano, guitar,
     piano, guitar, drums, song
                           song about
                                about love.

19           Q.         What's your favorite Van Morrison

20   song?
     song?

21           A.         "Into The Mystic".           Told you we'd
                                                     Told

22   get on.
     get

23           Q.                mine.
                        That's mine.

24                      Yeah, I like you.

25                      MS. FARKAS:        Let's just
                                           Let's just --

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1                  Edward Christopher Sheeran
                                      Sheeran

2                       THE VIDEOGRAPHER:           We are
                                                       are back on
                                                                on

3            the record
             the record at
                        at 12:08
                           12:08 p.m.
                                 p.m.

4    EXAMINATION BY

5
5    MS. FARKAS:
6
6            Q.         Good afternoon,
                             afternoon, Mr. Sheeran.
 7           A.         Hello.
                        Hello.

8
8            Q.         So I
                        So I just
                             just wanted to
                                         to ask
                                            ask you a few
                                                    a few

9
9    questions about
     questions about the
                     the writing and
                                 and creation of

10                 Loud", okay?
     "Thinking Out Loud", okay?

11           A.         Um-hmm.

12           Q.         So you had discussed
                        So         discussed earlier
                                             earlier a
                                                     a

13   writing session with Amy?

14           A.         Yeah.

15           Q.         That took
                        That took place on
                                        on a particular
                                           a particular

16   day at
     day at your house; do you remember
                               remember that?
                                        that?

17           A.         Yeah, I don't remember the
                                               the exact
                                                   exact

18   day.
     day.    I can
             I can -- it
                      it would be
                               be on
                                  on the
                                     the timestamp
                                         timestamp of
                                                   of

19   the iPhone recording, so
                           so I
                              I can
                                can find
                                    find that.
                                         that.

20           Q.             on that
                        And on that particular day,
                                               day, did

21   you and
         and Amy
             Amy consider
                 consider "Thinking
                          "Thinking Out
                                    Out Loud" a
                                              a

22   completed song?
     completed song?

23           A.         Yeah.
24           Q.         And what -- what were the
                                              the

25   elements of
     elements of that
                 that completed
                      completed song
                                song on
                                     on that
                                        that day?
                                             day?

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1                  Edward Christopher Sheeran

2            A.         Guitar and vocals and lyrics.

3            Q.         And to your understanding, you

4    had written the song and the song was

5    complete, correct?

6            A.         Yes.
 7           Q.         And did there come a time later

8    on where certain elements were added to the

9    recording of "Thinking Out Loud"?

10           A.         It was produced.          Yeah, it was --

11   that's production not songwriting.

12           Q.         And what do you consider

13   production of "Thinking Out Loud"?

14           A.         Well, the song itself is a guitar

15   and a vocal and then production would be

16   anything added to that.              So if you put bass or

17   drums or piano on it, that was production.

18           Q.         And were drums added to the

19   production -- to the recording of "Thinking

20   Out Loud"?

21           A.         Yes.

22           Q.         And where was that done?

23           A.         Sticky Studios by Jake Gosling,

24   the producer.

25           Q.         And so just to be clear, Jake

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1                  Edward Christopher Sheeran

2    Gosling is the one who added the drums to

3    "Thinking Out Loud"?

4            A.         Yes, program drums.            They weren't

5    live.     They were done on a Cubase.

6            Q.         And can you explain what that

 7   means for us?

8            A.         You have a drum loop or a sound

9    that you chop up and then you place it in.

10   So, like I said, when you put the chords and

11   you have the drum kick come on the one and the

12   bass come on the one as well, so you line it

13   all up with the guitar.

14           Q.         And Jake Gosling is the one who

15   added that element?

16           A.         Jake Gosling is the producer of

17   the song, yeah.

18           Q.         And was someone else responsible

19   for adding the bass to the recording of

20   "Thinking Out Loud"?

21           A.         That was Jake as well, the

22   producer, and that's done on a keyboard.                      It's

23   not real bass.

24           Q.         And what other elements were

25   added to the "Thinking Out Loud" song on the

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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
  KATHRYN TOWNSEND GRIFFIN, HELEN
  MCDONALD, and THE ESTATE OF CHERRIGALE
  TOWNSEND,

                             Plaintiffs,

                    -against-                                   ECF CASE

  EDWARD CHRISTOPHER SHEERAN, p/k/a ED                          17-cv-5221 (RJS)
  SHEERAN, ATLANTIC RECORDING
  CORPORATION, d/b/a ATLANTIC RECORDS,
  SONY/ATV MUSIC PUBLISHING, LLC, and
  WARNER MUSIC GROUP CORPORATION, d/b/a
  ASYLUM RECORDS

                            Defendants.



 ERRATA—Transcript of the February 1, 2018 Transcript of Edward Christopher Sheeran

Page Line       Transcript — verbatim              Correction                       Reasons for Making
                                                                                    Change
               Crown Music Management,             Crown Music Management,          Incorrect transcription
27     21-22   but they are now called Tone        but they are now called
               First                               Turnfirst
62      10     ... and we sourced it out           ... and we sorted it out        _ Incorrect transcription

                          DECLARATION UNDER PENALTY OF PERJURY

        I, Edward Christopher Sheeran, do hereby certify under penalty of perjury that I have read

the transcript of my deposition take in the above-captioned action; that I have made such

corrections as appear noted in the foregoing errata sheet; and that my testimony, as corrected by

the foregoing errata sheet, is true and correct.

Dated: March   29
               29     ,   2018



       EDWARD CHRISTOPHER SHEERAN
